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IN THE UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF GEORGIA

AUGUSTA DIVISION
lN RE: RICKY L. RAGIN and : CHAPTER 13
LATCHIE R. RAGIN, '
Debtors, : CASE NO. 18-10549-SDB

 

TITLEMAX OF GEORGIA, INC.,
Movant,
JUDGE SUSAN D. BARRETT

VS.

RICKY L. RAGIN, LATCHIE R. RAGIN
and HUON LE, Trustee,

Respondents.

AMENDED OBJECTION TO CHAPTER 13 PLAN
AND MOTION TO DENY CONFIRMATION

COMES NOW TITLEMAX OF GEGRGIA, INC. (“Movant”), a secured creditor in the
above-captioned bankruptcy proceeding, and hereby amends its objection to confirmation of this
case and moves for denial of confirmation of the plan, showing the Court as follows:

l.

On June 9, 2016, Latchie R. Ragin (“Debtor”) and Movant entered into a thirty-day pawn
transaction under Georgia law in Which the Debtor exchanged a Certificate of Title to a 1986 Buick
Regal for a cash advance. Title of Certit`icate and Pavvn Transaction are collectively attached hereto
as Exhibit “A”. The loan matured and came due in full on July 9, 2016, the Specit`ic Maturity Date
of the Pawn Transaction. Debtor failed to pay Movant by the maturity date or by August 8, 2016,
the expiration of the statutory grace period granted by O.C.G.A. § 44-14-403(b)(3). The amount

due as of the filing of the bankruptcy petition is $1,826.22.

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2.

Debtor filed the bankruptcy petition on April 13, 2018. To the extent Debtor was entitled
to a 60-day redemption period pursuant to 11 U.S.C. § 108(b), Debtor has failed to make any
attempt to redeem the pledged property to date. Because Debtor failed to pay pursuant to the
express terms of the contract or during any applicable statutory grace or redemption period, all
ownership interest of the Debtor in the pledged property has been or shall be extinguishedl

3.

A debtor’s ownership interest in an item of property pledged in a pawn transaction is
forfeited if it is not timely paid or redeemed Pledged goods may be redeemed by the pledgor only
by full payment of any unpaid fees and charges, the repayment of the principal, and the payment
of the additional interest. Pledged goods not redeemed shall be immediately forfeited to the
pawnbroker by operation of law and any ownership interest of the pledgor in the pledged item
shall be automatically extinguished O.C.G.A. § 44-14-403(b)(3); Titlemax v. Nortliington, No.
16-17467 (11th Cir., Dec. 11, 2017).

4.

When a debtor does not timely redeem prior to the filing of the debtor’s bankruptcy
petition, the pledged property is not property of the bankruptcy estate as defined in 11 U.S.C. §
541 and is not property within the bankruptcy court’s vested jurisdiction “A chapter 13 plan may

g not provide for disposition of property which is not property of the estate as defined in 11 U.S.C.
§ 541 and the fact of plan confirmation cannot bind a property owner to a plan provision disposing
of his property rights when such property is not within the Court’s vested jurisdiction” m
m, 507 B.R. 394, at 399 (Bankr. N.D. Ga. 2014); Accord Titlemax v. Northington, No. 16-

17/-167(11th Cir., Dec. 11, 2017).

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5.

To the extent Debtor failed to pay or redeem prior to the filing of the bankruptcy petition,
the proposed plan provides for the payment of a debt as to property which was not property of the
bankruptcy estate when the Debtor filed the petition To the extent Debtor was entitled to a 60-
day redemption period pursuant to 11 U.S.C. § 108(b), Debtor failed to make any attempt to
redeem the pledged property in full to date and thus all ownership interest of the Debtor in the
pledged property has been or shall be extinguished Thus, the proposed plan would still provide
for the payment of a debt as to property which is not property of the bankruptcy estate.

WHEREFORE, Movant moves this Court to deny confirmation of the Debtor’s Chapter 13
Plan and seeks any other relief this court deems just and appropriate

Respectfully submitted this 19th day of July, 2018.

THE BOWEN LAW GROUP

/s/ Cliarles J. Bowen
CHARLES J. BOWEN
Georgia State Bar No. 071 115
Attorney for Movant

7 East Congress Street

Suite 1001

Savannah, GA 31401

(912) 544-2050

(912) 544-2070 (fax)
cbowen@thebowenlawgroup. com

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EXHIBIT “A”

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Vehicle 113 Number Ycar Make Model Body Stth t.ic Platc Reg Exp
164€`3!*¢44_7¥261’432432 1 986 BU§C '

 

 

 

 

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7725541708t 7078 GA 03-28-2017

Fuii Name of t)Wne‘r(s] Vehicle Brand(s] Lienz,<{s} . ,

LAT,CH|E RENAY RAG!N _ TSTLEMAX DF GEORGiA lNC D§B."A

304 MANASSAS DR _ TiTi.EMAX

THOMSON, GA`308242542 (1001 WASH|NGTON RD

 

THOMSON, GA 30824}°

Lleri Date: _
ELT Number: 901107192073

Odometer Bi'and {s]' U.Na wm 8031 8 _4

   

‘ information has~been` supplied by the lienhotder, not the state tittir»g agency

 

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Written Disc|osure Ticket PAWN TRANSACTlON
ORlGlNAL ACCOUNT NUMBER: ACCOUNT NUMBER PAWN TlCKET NUMBER: DATE/l'lME OF PAWN MATURlTY DATE
§ ` ' 06/09/2016 07/09/2016
PLEDGOR lNFORMATlON: CO-PLEDG()R lNFORMATlON:
FlRST NAME: MlDDLE NAME: LAST NAME: CO-PLEDGOR FlRST MlDDLE NAME: CO-PLEDGOR LAST NAME:
LATCH|E RENAY RAG|N NAMEZ
PLEDGOR SSN: PH('>TG in NG.; CO-PLEDGOR SSN: CO-PLEDGOR'S PHOTO |D. NO.:
PLEDGOR Si`REET ADDRESS: CO-PLEDGOR ADDRESS:
304 MANASSAS DR
ClTY: STATE ZlP CODE: RACE: ClTY: STATE: ZlP CODE RACE:
THOMSON GA 30824 Black
HE|GHT WE|GHT B|RTH DATE: SEX: HElGl-lT WElGHT BlRTH DATE: SEX:
530 160.00 Fema|e
PAWNBROKER NAME: TitleNaxof PAWNBROKER HOURS OF OPERATlON: Monday to Friday 9 A,M. to 7 P.M., PAWNBROKER PHONE NUMBER:
Georgia, inc d/o/a TitleMax SafurdainA,M, to 4 P.M., Closed Sunday (705)595.4335
PAWNBROKER STREET ADDRESS: PAWNBROKER ClTY: PAWNBROKER STATE: PAWNBROKER ZlP
1001 WASH|NGTON RD THOMSON GA CODE: 30824
MOTOR VEH|CLE lNFORMATlON: VEl-llCLE lDENT|FlCATlGN NUMBER TlTLE STATE: LlCENSE PLATE VEHlCLE CERTlFlCATE OF TlTLE
(VlN): 1646M47Y269432432 GA NUMBER: 775076160422078
VEHlCl_E YEAR VEHlCLE MAKE VEHlCLE MODEL: DOORS CYl_lNDERS: COLOR: ODOMETER
1986 BUlCK REGAL 08 Cyl WH| 83449

 

 

 

 

 

 

 

 

 

ln this Written Disclosure Ticket the words “this document,” “Pawn Transaction," “Pawn Ticl<et,” "this iransaction," and “ihe transaction” are denned as they are in
O.C.G.A. § 44-12-130 et seq. and mean this signed agreement including the Waiver of Jury Trial and Arbitration Clause. The words “you,” “your,' “sel|er.” “pledgor,"
and “cc-p|edgor' mean the pledgor and/or co-pledgor identiied above who have signed this Pawn Ticket. The words “we," "us,” “our,” and “Pawnbroker” mean TitleMax
of Georgia, lnc. d/b/a TifleMax a pawnbroker licensed under and operating pursuant to the Georgia Code sections relating to pawnbrol<ers, including O.C.G.A. §
44~12-130, et seq. and O.C.G.A. § 44-14400, et seq. The words “Motor Vehicle,” and “Pawned ltem“ mean the Mofor Vehicle identified above. The words l*Tit|e,"
“Cerfificate of Tille,” “Pledged Goods," “lvlerchandise,“ and “Pledged ltems" mean the Mctor Vehicle Cerliticate of Title identified above. The word “Pawn" means the
pawn covered by this Pawn Ticket.

 

This is a pawn transaction. Failure to make your payments as described in this document can result in the loss of the pawned item. The pawnbroker
can sell or keep the item if you have not made all payments by the specified maturity date. Failure to make your payment as described in this document
can result in the loss of your motor vehicle. The pawnbroker can also charge you certain fees if he or she actually repossesses the motor vehicle.

 

 

 

You hereby granite us a security interest in your Motor Vehic|e. ln consideration of your payment of $ 823.23 (which is the cost to the seller or pledgor to redeem the
merchandise in this period of the fransaction), delivery to us of the Motor Vehicle’s Certificate of Tifle, and agreement to pay all of the fees, sums. interest charges, and
amounts pursuanth O.C.G.A. §44-12-130 et seq. and disclosed herein, we agree to lend you $ 728.59 (“Pfincipa| AmOUnl"). Pursuant fo O.C.G.A. § 44-12-

137(7), please note that we are not making any agreement requiring the personal liability of a pledgor. Therefore, if you choose to redeem or repurchase the
Pledged Goods, then you must pay us in cash the Total of Paymenls listed below on the Specified Malurity Date of the Pawn Transaction, which is 07/09/2016 (hereinafter
the “Specific Maturity Date"); however, if the Specitic Maturity Date falls on a day in which we are not open for business, then you must pay us on the next business
day. We do not accept personal checks

FEDERAL TRUTH-lN-LENDlNG DlSCLOSURES

 

 

 

 

 

 

 

 

 

 

ANNUAL FlNANCE Amount Total of Payments
PERCENTAGE RATE CHARGE Financed
The cost of your credit as a The dollar amount the The amount of credit T_he amount Y°u Wi" have
yearly rate. credit will cost you. provided to you or on Pa'd after you have made a"
your behalf_ payments as scheduled
158.0386 % $ 94.64 $728.59 $§3§-23_
Payment Schedule: One payment in the amount of$ 823.23 due on Saturday (day of week), Ju|y (month) 9 (day), 2016
Securily: You are giving a security interest in the Motor Vehicle.
Fi|ing Fee: 0.00
Prepayment: |f you pay off early, you will not be entitled to a refund of part of the finance charge
See the terms below and on the other pages of this Wriften Disclosure Ticket for any additional information about nonpayment default and lack of prepayment
refunds

 

 

 

Any comments or questions may be directed to Customer Service at the following toil~free number: (800)804-5368
TM-GA-Customer Agreement-V.2.2.03.03.2016 Page 'l Of 5

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ADDiTlONAL TERMS AND CONDiTiONS OF THiS WRiTTEN DiSCLOSURE TlCKET

itemization of Amount Financed of 728.59

$ 0.00 Amount given to you directly

S 728.59 Amount paid on account no. with us.
Amount paid to others on your behalf:

$ 0.00 Amount paid public ofhcia|s for title fees

s N/A Amount to N/A

$ N/A Amount to N/A

Prepayment You may prepay in full at any lime the fees, sums, charges, interest and amounts owing under this Wriften Disclosure Ticket and will not incur an additional
charge or fee. However, because we earn all interest and pawnshcp charges upon your execution of this Wriften Disclosure Ticket you will not be entitled to a rebate
and rehind of any part of the Finance Charge. Likewise. you may prepay any extension of this Wriften Disclosure Ticket and will not incur an additional charge or fee
However, because we earn all interest and pawnshop charges as of the date of the extension or continuation of this Wriften Disclosure Ticket you will not be entitled
to a rebate and refund of any part of the Finance Charge
Rescission: We will rebate and refund the Finance Charge we have earned and any fees to be paid to public officials, if at any time prior to the close of business on
the business day immediately following the date of this Pawn Ticket you prepay to us in cash the Amount Financed in full satisfaction of your obligations under this
Pawn Ticket
Length of the Pawn Transaction, interest and Pawnshop charges, Extension or Continuation, and Cost to Redeem. The length of the original Pawn Transaction
is thirty days and it can only be renewed with the agreementh both parties and only for 30-day incremental periods The provisions of this paragraph regarding
extensions or continuations are limited to the extent we may choose to cease doing business with you. Furthermore, if you request additional funds or request a change
in your Specified Maturity Date, then we will ask you to sign an agreement documenting same. lf you do not request additional funds, the original Pawn Transaction
shall be considered to have been extended or continued unless: (a) All charges, fees, and the principal have actually been paid or repaid on the previous Pawn
Transaction; (b) The Certificate of Title, has actually been restored lo your possession; and (c) The Motor Vehicle in the previous transaction has been removed from
our business premises and any lien on the Certidcate of Title has been removed or released lf the principal amount is not paid on the Specific Maturity Date or the
extended maturity date, but you pay the fees, sums, interestl charges, and other amounts owing to us. then the Wriften Disclosure Ticket will be extended or continued for
an additional 30-day period The extended maturity dale shall be thirty days after the Specific Maturity Date or previous extended maturity date. Pursuant to O.C.G.A.
§44-12-138(b) (5)-(8), please note the following rates on an annual basis and pay off amounts assume that (i) only the principal amount advanced in original Pawn
Ticket is outstandingl (ii) that no payments have been made to reduce the principal amount advanced in the original Pawn Ticket and no additional funds have been
advanced to you subsequent to signing the original 30 day Pawn Ticket; (iii) all fees and charges on the original transaction have been kept current and that the annual
rate is computed as if all interest and pawnshop charges were considered to be interest Given the assumptions stated above, please note as follows For the original
30day term, and two renewal terms in which the Pawn Transaction might be continued or extended (a total of 90 days): (i) Pawnbroker may charge for each 30-day
period interest and pawnshop charges which together equal no more than 25 percent of the principal amount advanced with a minimum charge of up to $10.00 per
130-day period; (|l) it will cost the seller or pledgor$ 1376.22 to redeem the lvlerchandise; and (ll|) the rate on an annual basis for these 30 day periods is
158.0500 %. After three 30-day terms (an initial 30-day term and two renewal terms-a total of 90 days): (1) Pawnbroker may charge for each 30-day period
interest and pawnshop charges which together equal no more than 12.5 percent of the principal amount advanced with a minimum charge of up to $5.00 per 30-day
period; (2) it will cost the seller or pledgor $ 1370.25 fo redeem the Merchandise; and (3) the rate on an annual basis each 130-day renewal term is 152.0833 %.
lf you have signed an agreement subsequent to the original agreement to receive additional fundsl move the Specified Maturity Date and/or paid any amount toward
the principall then your current payoff information no longer his within these narrow statutory assumptions As such the federal Trufh-ln-Lending disclosures in the
agreement you sign will provide you with the updated payoff amount information (cost to redeem the Merchandise) and the rate on an annual basis. Upon renewa|, all
terms of this Wriften Disclosure Ticket shall continue in effect including the Waiver of Jury Trial and Arbitration C|ause. Upon payment in full of all amounts owing, we
will return the Pledged Goods unless such have been taken into custody by a court or by a law enforcement cince or agency.
Default and Grace Period. if you choose to forgo paying us on the Specific Maturity Date or the extended maturity date, then pursuant to O.C.G.A. §§44-12-1 31 and
44-12-138 you will be in “defau|t' and a “grace period" governs our relationship The Pledged Goods may be redeemed for thirty days after the Specifc Maturity Date
or the extended maturity date The grace period shall begin running on the first day following the Specined Maturity Date of the Pawn Transaction or on the first day
following the expiration of any extension or continuation of the Pawn Transaction, whichever occurs |ater. The grace period shall be 30 calendar days ln the event
that the last day of the grace period falls on a day in which we are not open for business. the grace period shall be extended through the first day following upon which
we are open for business We will not sell the Pledged Goods during the grace period You may redeem the Motor Vehicle within the grace period by the paymenth
any unpaid accrued fees and charges, the repayment of the principal, and the payment of an additional interest charge not to exceed 12.5 percent of the principall To
redeem the Pledged Goods in the grace period immediately following the Specif`ic Maturity Date, you must pay $ 914.30 . You must contact the store for the
amount to redeem the Pledged Goods during a grace period after an extended maturity date |f the Motor Vehicle is not redeemed within the grace period it shall be
automatically forfeited to us by operation of O.C.G.A. §44-14-403, and any of your ownership interest in the Motor Vehicle shall automatically be extinguished After
the grace period the Pledged Gocds become the property of the Pawnbroker.
Recovery and Storage. if you are in default we have the right to take possession of the Motor Vehic|e. ln taking possession, we or our agent may proceed without
judicial process if this can be done without breach of the peace or may proceed by action as set forth in the Waiver of Jury Trial and Arbitration Clause. You agree to
pay a recovery fee, the amount cf which will be based upon the distance we travel from our office to recover the Motor Vehicle. You agree to pay a recovery fee of
$50.00 if we recover the Motor Vehicle within 50 miles of the ofnce where the Pawn Transaction originated a recovery fee of $100.00 for recoveries within 51 to 100
miles, a recovery fee of $150.00 for recoveries within 101 to 300 miles and a recovery fee of $250.00 for recoveries beyond 300 miles. The recovery fee will be charged
only if an actual recovery pursuant to a default takes place on a Mctor Vehicle which was not already in our possession You agree to pay a storage fee for a recovered
Motor Vehicle not to exceed $5.00 per day, but only if we actually recover and retain possession of the Motor Vehicle.
l_ien lnformation, Additional Fees and Charges, and Redeeming the Title. You agree to pay us a fee to register a lien upon the Molor Vehicle Title, not to exceed
any fee actually charged by the appropriate state to register a lien upon a lvlotor Vehicle Title, but only if we actually place such a lien upon the Motor Vehicle `l'ille We
have a lien on the Motor Vehicle pawned for the money advanced interest and pawnshop charge owed but not for other debts due to us. We may retain possession
of the Pledged Goods until the lien is satisfied and may have a right of action against anyone interfering therewith Any costs to ship the Pledged items to the pledgor
can be charged to the piedgor, along with a handling fee to equal no more than 50 percent of the actual costs to ship the Pledged items Pledgor agrees that whoever
properly identifies himself or herself and presents this Pawn Ticket is presumed lo be the pledgor and is entitled to redeem the Molor Vehicie. if this Pawn Ticket is
lost destroyed or stolen, the pledgor should immediately advise the Pawnbroker in writing You agree to pay a fee of up to $2.00 for each lost or destroyed Pawn
Ticket. Pursuant to O.C.G.A. §44-14-411.t if we recover the Motor Vehicle and thereby obtain possession of any personal property found in such Motor Vehicle, we
shall have alien on such property for any reasonable expenses incurred in storing such property and in giving notice to such owner.

Any comments or questions may be directed to Customer Service at the following toll-free number: (800)804-5368
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ADD|T|ONAL TERMS AND CONDiTiONS OF THiS WR|TTEN DlSCLOSURE TlCKET

Governing Law and Assignment. This Wriften Disclosure Ticket shall be governed by the laws of the State of Georgia, except that the Waiver of Jury Trial and
Arbitration Clause is governed by the Federal Arbitration Act (“FAA“). We may assign or transfer this Written Disclosure Ticket or any of our rights hereunder.
Notices and Waivers. We will send notices to you at your address on page 1, and we meet our duty to give you notice when we mail it. You must send all notices to
us to: TitleMax of Georgia, lnc., ATTN: l.egal Department, P.O. Box 8323, Savannah, Georgia 31412 (the "Notice Address"). We may waive or delay enforcing our
rights without losing them. We may sue or arbitrate with one or more persons without joining or suing others.

information Sharing; Credit Reporting. You allow us to make inquiries about your credit history. if you believe that you have been the victim of identity theft in
connection with your Pawn, write to us at the Notice Address. in your ietter: (a) provide your name and Pawn number; and (b) submit an identity theft affidavit or identity
theft report

Teiephone Recording. You agree that we may monitor and record any phone conversation you have with us,

Automatic Reminders. We may use automated telephone dialing, text messaging systems and email to provide messages to you about the Maturity Date and other
important information The telephone messages may be played by a machine when the telephone is answered whether answered by you or someone else. These
messages may also be recorded by your answering machine You give us your permission to call or send a text message to any telephone number you give us. This
includes cell phone and landiine numbers. You give us permission to play pre-recorded messages or send text messages with information about your Pawn over the
phone. You also give us permission to send such information to you by emailr You agree that we will not be liable to you for any such calls or communications You
understand_that you may get a charge from your phone or lnternet company. You agree that we have no liability for such fees.

Bankruptcy Notices. Any notice to us under the Federal Bankruptcy Code must be in writing, must include your Pawn number, and must be sent to the Notice Address.
Notice and Cure. Before starting a lawsuit or arbitration regarding a legal dispute or claim relating to this Pawn Ticket, the il/iotor Vehicle or the Pawn (the “Dispute“),
the party filing the Dispute (the “Claimant”) will give the other party (the l‘Defending Party") written notice of the Dispute (a “Dispute Notice") and not less than 30 days
to resolve the Dispute. Any Dispute Notice to you will be sent by mail or email to the address you gave on your Application (or any address you have since given us).
Any Dispute Notice to us will be sent by mail to the Notice Address. Any Dispute Notice you send must include your Pawn number, mailing address and telephone
number, lt must explain the nature of the Dispute and the relief requested The Claimant must provide any information about the Dispute that the Defending Party
requests

WAlVER OF RlGHT TO TRiAL BY JURY. YOU AND WE ACKNOWLEDGE THAT THE RlGHT TO TRiAL BY JURY lS A CONSTlTUTiONAL RlGHT. THiS RlGHT
MAY BE WAlVED UNDER CERTA|N CONDlTiONS AS ALLOWED BY LAW. YOU AND WE KNOW|NGLY AND VOLUNTAR|LY WA|VE ANY RlGHT TO TRiAL
BY JURY lN THE EVENT OF LlTlGATlON ARlSlNG OUT OF OR RELATED DlRECTLY OR lNDiRECTLY TO EACH OF THE FOLLOW|NG: (A) THiS PAWN
TlCKET; AND (B) THE PAWN THAT iS THE SUBJECT OF THiS PAWN TlCKET. THiS JURY TR|AL WAlVER W|LL NOT CHANGE ANY ARBlTRATlON CLAUSE
TCl WHlCH YOU AND WE ARE SUBJECT, WHlCH CONTA|NS iTS OWN SEPARATE JURY TRiAL WAlVER.

JURY TRiAL WAlVER AND ARBiTRATiON CLAUSE. By signing below, you agree to this Jury Trial Waiver and Arbitration Clause (“Clause"). We have drafted this
Clause in question and answer form so it is easier to understand This Clause is part of this Pawn Ticket and is legally binding
Background and Scope.

 

 

 

 

guestion Short Answer Further Detail
What is . in arbitration a third party Arbiter (“TPA”) solves Disputes in a hearing (“hearing"). lt is less formal than a
arbitrati°n? An alternative to court mud Case'
Ls°::‘;f:;€';t fr°m Yes The hearing is private There is no iury. it is usually less formai, faster, and less costly than a lawsuit Pre
trials? l ry hearing fact hnding is limited Appeals are limited Courts rarely overturn arbitration awards.

lf you do not want this Clause to apply, you must tell us in writing within 60 calendar days after signing this
Can you opt-out of yes within 60 da s Pawn Ticket Send your signed written notice to the Notice Address. Give your name. address, Pawn
this Clause? ’ y number and Pawn date. State that you "opt out“ of the arbitration clause We do not allow electronic

delivery

 

What is this Clause
about?

The parties' agreement
to arbitrate Disputes

You and we agree that any party may arbitrate or demand arbitration of any ”Dispute," unless you opt cut or
the law does not allow it.

 

This Clause covers you and us. lt also covers certain "Re|ated Parties.“ These include: (i) our parent

 

 

 

 

 

Who does the You, us, and certain companies, subsidiaries and affiliates; (2) our employees, directors, officers, shareholdersI members and
Clause cover? "Related Parties" representatives; and (3) any person cr company that is involved in a Dispute that you pursue at the same
time you pursue this Dispute (for example, a recovery company).
This Clause covers Disputes that would usually be decided in court and are between us (or a Reiated Party)
and you. in this Clause. the word Disputes has the broadest meaning lt includes all claims related to your
Most Disputes that application this Pawn Ticket, the Motor Vehicle. the Pawn, any Other Pawn or your relationship with us. lt
What Disputes would normally go to includes claims related to any prior applications or agreements lt includes extensions renewals,
does the Clause court (except certain rehnancings, or payment plans. lt includes claims related to collections privacy, and customer information it
cover? Disputes about this includes claims related to the validity of this Pawn Ticket. But, it does not include disputes about the
Clause) validity, coverage, or scope of this Clause or any part of this Clause. These are for a court and not the
TPA to decide. Also, this Clause does not cover our taking and selling the Motor Vehicle. lt does not
cover any individual case you die to stop us from taking or selling the Motor Vehicle.
Arbitrations are conducted under this Clause and the rules of the arbitration company. Arbitration rules that
conflict with this Clause do not appiy. The arbitration company will be either:
Who handies_the » The American Arbitration Assoclation ("AAA”), 1633 Broadway, 10th Floor, New York, NY 10019,
arbitration? Usuaily AAA or JAMS V`,\,,,\.V_adr_mgv

~ JAMS, 620 Eighth Avenue, 34th F|oor, New York, NY 10018, www.iamsadr.org
~ Any other company picked by agreement of the parties

 

Any comments or questions may be directed to Customer Service at the following toll-free number: (800)804-5368
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ADDiTlONAL TERMS AND CONDiTlONS OF THiS WRlTTEN DiSCLOSURE TlCKET

 

lf all these options are unavailable, a court will pick the arbitration company But, no arbitration may be

administered without our consent by an arbitration company that would permit class arbitration under
this Clause.

The TPA will be selected under the arbitration company‘s rules. The TPA must be a lawyer with at least ten
years of experience or a retired judge, unless you and we otherwise agree

 

Can Disputes be

Either party may bring a lawsuit if the other party does not demand arbitration We will not demand arbitration

 

 

brought to court? Sometimes of any lawsuit you bring as an individual in small claims court But, we may demand arbitration of any appeal
of a small claims decision or any small claims action brought as a class.
For Disputes subject to this Clause, you give up your right to:
1. Have juries decide Disputes
A _ _ 2 Have courts, other than small claims courts, decide Disputes
a':; z;':`?s';mg up Yes 3 Serve as a private attorney general or in a representative capacity
4. Join a Dispute you have with a dispute by other consumers
5. Bring or be a class member in a class action or class arbitration
We also give up the right to a jury trial and to have courts decide Disputes we wish to arbitrate.
Can ou or another The TPA is go_t allowed to handle a Dispute on a class or representative basis All Disputes subject to
Cons{|mer start No this Clause must be decided in an individual arbitration or an individual small claims action This Clause will
class arbitration be void if a court rules that the TPA can decide a Dispute on a class basis and the courts ruling is not

reversed on appeal,

 

What law applies?

The Federal Arbitration

This Pawn Ticket and the Pawn involve interstate commerce The FAA governs this Clause, The TPA must
apply law consistent with the FAA. The TPA must honor statutes of limitation and privilege rights Punitive

 

 

 

 

 

 

 

 

 

 

 

 

 

 

attorneys' fees?

 

 

Act( FAA ) damages are governed by the constitutional standards that apply in judicial proceedings
m';:n§|;':|%:°u No This Clause stays in force if you: (1) cancel the Pawn; (2) default, renew, prepay or pay your Pawn in full; or
Clausg? (3) go into bankruptcy
Process.
Question Short Answer Further Detail
Before starting a lawsuit or arbitration the complaining party must give the other party written notice of the
What must ou do Dispute. The notice must explain the nature of the Dispute and any supporting facts lf you are the
before Stm¥n a Send a written Dispute complaining party, you must send the notice in writing (and not electronically) to our Notice Address. You, or
lawsuit or g notice and work to an attorney you have hired must sign the notice. You must give your Pawn number and a phone number
arbitration? resolve the Dispute where you (or your attorney) can be reached if we send you a collections letter, this will be your written
notice of a Dispute. Once a Dispute notice is sent. the complaining party must give the other party a chance
to resolve the Dispute on an individual basis over the next 30 days
if the parties do not come to an agreement to resolve the Dispute within 30 days after the notice of the
Fouowin the rules of Dispute is received the complaining party may start a lawsuit or arbitration To start arbitration the
How does the arbit?atwn complaining party picks the arbitration company and follows their rules. if one party begins or threatens a
arbitration start? com an lawsuit, the other party can demand arbitration This demand can be made iri court papers lt can be made if
p y a party begins a lawsuit on an individual basis and then tries to pursue a class action Once an arbitration
demand is made, no lawsuit can be brought and any current lawsuit must stop.
Will any hearing be Yes The TPA may decide that an in person hearing is not needed and that a Dispute may be resolved in writing
held nearby? and by conference call. But, any in person hearing must be held at a place reasonably convenient to you.
Appea| rights under the FAA are limited For Claims involving more than $50,000, any party may appeal the
What about Ve "mned award to a panel of three TPAs chosen by the arbitration company This panel will reconsider anything in the
ap`peals? ry initial award that is appealed The panels decision will be hnal, except for any FAA appeal right Any suitable
court may enter judgment upon the TPA's award
Arbitration Fees and Awards.
guestion Short Answer Further Detail
Who pays Usua" we do We will pay all hling, administrative hearing and TPA's fees if you act in good faith, cannot get a waiver of
arbitration fees? y’ ' such fees, and ask us to pay.
When wm we cover lf you win an arbitration we will pay your reasonable fees and costs for attorneys experts and witnesses We
our le al fees and |f ou win will also pay these amounts if required by law or the arbitration companys rules or if payment is required to
§osts?g y enforce this Clause. The TPA will not limit the award of these amounts because your Dispute is for a small
amount
ml;gr°:r§;;:t?:for On|y for bad faith The TPA can require you to pay our fees if the TPA hnds that you have acted in bad faith (according to

standards described in Federal Rule of Civil Procedure ti(b)) and this power does not void this Clause.

 

Any comments or questions may be directed to Customer Service at the following toll-free number: (800)804-5368
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ADDlTiONAL TERMS AND CONDiTlONS OF THiS WRiTTEN DiSCLGSURE TlCKET

 

You are entitled to an arbitration award of at least $7,500 if: (i) you give us notice of a Dispute only on your

Can a failure to own behalf and comply with the terms of this Clause; and (2) the TPA awards you money damages greater
resolve a Dispute than the last amount you requested at least ten days before the arbitration started This is in addition to the
informally mean a Yes attorneys' fees and expensesl and expert witness costs to which you would be entitled This $7,500 minimum
larger recovery for award is a single award that applies to all Disputes you have raised or could have raised Multiple awards of
you? $7,500 are not considered by this Clause. Settlement demands and offers are strictly conhdential. They may

not be used in any proceeding by either party except to justify a minimum recovery of $7,500.

 

Can an award be yes A party may ask for an explanation from the TPA, within 14 days of the ruling Upon such request, the TPA
expiained? will explain the ruling in writing

 

 

 

 

 

Representations and Warranties. Pledgor attests that the Motor Vehicle is not stolen it has no liens or encumbrances against it, and pledgor has the right to sell the
Motor Vehicle. By signing this Written Disclosure Ticket, Pledgor attests that he or she is at least 18 years of age and is the true owner of the Motor Vehicle. The
Pawnbrcker will not lease back to the Pledgor the Motor Vehicle during this Pawn Transaction or during any extension or continuation of this Pawn Transaction The
Pledgor does hereby acknowledge that he has inspected the Motor Vehicle and that such li/lotor Vehicle is in good repair and condition The Pledgor does hereby
assume and bear the entire risk of loss or damage to the l\/lotor Vehicle while in his possession and does agree to indemnify and hold harmless the Pawnbrcker from
any and all property damages or personal injuries arising from the operation of the Motor Vehicle, including but not limited to. all lawsuits judgments attorneys fees,
court costs, or any expenses that may be incurred The Pledgor agrees to maintain liability and casualty insurance with respect to the lvlotcr Vehicle during the duration
of this Pawn Transaction. This Wriften Disclosure Ticket may only be amended as you and we agree in writing

By signing this Wriften Disclosure Ticket you acknowledge that it was filled in before you did so and that you have received a completed copy of it. You also warrant
and represent that you are not a debtor under any proceeding in bankruptcy and have no intention to file a petition for relief under any chapter of the United States
Bankruptcy Code. You further acknowledge that we are a Pawnbrcker and that you are engaging in a Pawn Transaction with us (the terms of which are contained
herein) as allowed by O.C.G.A. §44-12-130 et seq. You further acknowledge that you have read, understand and agree to all of the terms of this Written
Disclosure Ticket, including the above “Waiver of Jury Trial and Arbitration Clause.”

 

 

 

Docu$igr\ed bv: _ Ti veh&rorgta; lnc. d/b/a Tit|eil/lax
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eag&§§'az`tgt%t?é% ;C4F59210566E42th empjoyee
Account Numbei
Co-Pledgor Signature

THiS DOCUMENT iS SUBJECT TO A SECUR|TY |NTEREST lN FAVOR OF AND PLEDGED AS COLLATERAL TO WELLS FARGO BANK NAT|ONAL
ASSOCiATiON. AS COLLATERAL AGENT.

 

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IN THE UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF GEORGIA

AUGUSTA DIVISIoN
IN RE; RICKY L. RAGrN and ; CHAPTER 13
LATCHIE R. RAGIN, ~
Debiors, § cAsE No. 18-10549-51313

 

TlTLEMAX OF GEORGIA, INC.,

Movant,

JUDGE SUSAN D. BARRETT
vs.

RICKY L. RAGIN, LATCHIE R. RAGIN
and HUGN LE, Trustee,

Rcspondents.
CERTIFICATE OF SERVICE
This is to certify that 1 have this day served the following parties in this matter With a copy
of the Within and foregoing Amended Objection to Plan and Motion to Deny Confirmation by

depositing a true and correct copy in the U.S. Mail With sufficient postage affixed thereto and
properly addressed as foilows:

Ricky L. Ragin Angela Williams Seymour, Esq.
Latchie R. Ragin Seymour & Associates, PC
405 Mendei Avenue 101-13 Rossmore Place
Thornson, GA 30824 Augusta, GA 30909

Huon Le, Trustee
P.O. Box 2127
Augusta, GA 30903

This 19th day of July, 2018

 

THE BOWEN LAW GR()UP
7 East Congress Street /s/ Charies J. Bowen
Suite 1001 CHARLES J. BOWEN
Savannah, GA 31401 Georgia State Bar No. 071115
(912) 544-2050 Attorney for Movant

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